          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                       CRIMINAL NO. 1:04CR24-1


UNITED STATES OF AMERICA                  )
                                          )
                                          )
            vs.                           )           ORDER
                                          )
                                          )
ANNA LOU BARKER                           )
                                          )


      THIS MATTER is before the Court on motions, filed by counsel and

by Defendant pro se, for reduction of sentence pursuant to 18 U.S.C. §

3582(c)(2), based on the recent amendments to the Sentencing Guidelines

with regard to offenses involving crack cocaine. See Defendant’s Pro Se

Motion for Modification or Reduction of Sentence, filed February 8,

2008; Defendant’s Motion for Reduction of Sentence [filed by

counsel], filed October 9, 2008. The Government has also filed a motion

seeking an extension of time to respond to the Defendant’s motions.

      The Defendant was charged and convicted of conspiracy to possess

with intent to distribute cocaine and marijuana in violation of 21 U.S.C. §§

841 and 846. The original Guideline calculations were based on a quantity




      Case 1:04-cr-00024-MR   Document 154     Filed 10/24/08   Page 1 of 2
                                    2

of cocaine powder rather than on cocaine base. Therefore, Amendment

706 to the Sentencing Guidelines has no effect on the Defendant’s

sentence and her motions are denied.

     Because the Defendant is not entitled to a sentence reduction, the

Government’s motion will be denied as moot.

     IT IS, THEREFORE, ORDERED that the Defendant’s motions for a

reduction of sentence are hereby DENIED.

     IT IS FURTHER ORDERED that the Government’s motion for an

extension of time is DENIED as moot.

                                    Signed: October 24, 2008




     Case 1:04-cr-00024-MR   Document 154   Filed 10/24/08     Page 2 of 2
